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                                                             RECEIVED
                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY                    MAY 15 2017
                                                              AT 8:30               M
                                                                 WILLIAM T. WALSH
                                                                      CLERK
 BIXING PENG, Individually and On
 Behalf of All Others Similarly Situated,     Case No. 2:17-cv-00119-AET-
                                 Plaintiff,   LHG

 v.

 AGILE THERAPEUTICS, INC.,
 ALFRED ALTOMARI, and
 ELIZABETH GARNER,
                      Defendants.

 ANDREA LICHTENTHAL,
 Individually and On Behalf of All            Case No. 3:17-cv-00405-AET-
 Others Similarly Situated,                   LHG

                                 Plaintiff,

 v.

 AGILE THERAPEUTICS, INC.,
 ALFRED ALTOMARI, and
 ELIZABETH GARNER,

                              Defendants.

        ORDER GRANTING MOTION OF HOYT W. CLARK
 FOR CONSOLIDATION OF THE ACTIONS, APPOINTMENT AS LEAD
  PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL; AND
  SETTING BRIEFING SCHEDULE FOR AMENDED PLEADING AND
                    MOTION TO DISMISS
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        Having considered the papers filed in support of the Motion of Hoyt W. Clark

("Clark") for Consolidation of the Actions, Appointment as Lead Plaintiff, and

Approval of Selection of Counsel pursuant to the Private Securities Litigation

Reform Act of 1995 (the "PSLRA"), 15 U.S.C. § 78u~4(a)(3)(B) (the "Motion"), and

having heard the parties before the Court at a hearing on May 11, 2017, and for good

cause shown,

        IT IS HEREBY ORDERED that Movant Clark's Motion (Civ. No. 17-119,

ECF No. 4) is GRANTED;

        And it further APPEARING that the two ·other movants who filed similar

motions to that of Movant Clark have since filed notices of non-opposition to

Movant Clark's motion (Civ. No. 17-119, ECFNos. 6, 7), it is ORDERED that these

motions (Civ. No. 17-119, ECF Nos. 3, 5) are DISMISSED AS MOOT;

        And it is further ORDERED that:

   I.        CONSOLIDATION OF RELATED ACTIONS

        1.    The above-captioned securities fraud class actions pending in this

Judicial District are hereby consolidated for all purposes pursuant to Rule 42(a) of

the Federal Rules of Civil Procedure. Any actions that have been filed, or may be

filed, which are related and which may be considered herewith, are consolidated

with the Peng Action under Case No. 2:17-cv-00119-AET-LHG (the "Consolidated

Action").


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         2.     A Master File is hereby established for the consolidated proceedings in

the Consolidated .Action. The docket number for the Master File shall be Master

File No. 2:17-cv-00119-AET-LHG. The original of this Order shall be filed by the

Clerk in each of the above-captioned actions. The Clerk shall mail a copy of this

Order to counsel of record in each of the above-captioned actions.

         3.     Every pleading filed in the Consolidated Action shall bear the following

caption:



 IN RE AGILE THERAPEUTICS,                  Master File No. 2:17-cv-00119-
 INC. SECURITIES LITIGATION                 AET-LHG



   II.        APPOINTMENT OF LEAD PLAINTIFF AND LEAD COUNSEL

         4.     Clark has moved this Court to be appointed as Lead Plaintiff in the

actions and to approve the counsel he retained to be Lead Counsel.

         5.     Having considered the provisions of Section 21D(a)(3)(B)' of the

PSLRA, 15 U.S.C. § 78u-4(a)(3)(B), the Court hereby determines that Clark is the

most adequate plaintiff and satisfies the requirements of the PSLRA. The Court

hereby appoints Clark as Lead Plaintiff to represent the interests of the class.

         6.     Pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, 15 U.S.C. § 78u-

4(a)(3 )(B )(v), Clark has selected and retained the law firm Levi & Korsinsky LLP



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to serve as Lead Counsel. The Court approves Clark's selection of Lead Counsel

for the Consolidated Action.

      7.       Lead Counsel shall have the following responsibilities and duties, to be

carried out either personally or through counsel whom Lead Counsel shall designate:

               a.    to coordinate the briefing and argument of any and all motions;

               b.    to coordinate the conduct of any and all discovery proceedings;

               c.    to coordinate the examination of any and all witnesses in

depositions;

               d.    to coordinate the selection of counsel to act as spokesperson at

all pretrial conferences;

               e.    to call meetings of the plaintiffs' counsel as they deem necessary

and appropriate from time to time;

               f.    to coordinate all settlement negotiations with counsel for

defendants;

               g.    to coordinate and direct the pretrial discovery proceedings and

the preparation for trial and the trial of this matter, and to delegate work

responsibilities to selected counsel as may be required;

               h.    to coordinate the preparation and filings of all pleadings; and

               1.    to supervise all other matters concerning the prosecution or

resolution of the Consolidated Action.


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      8.       No motion, discovery request, or other pretrial proceedings shall be

initiated or filed by any plaintiffs without the approval of Lead Counsel, so as to

prevent duplicative pleadings or discovery by plaintiffs. No settlement negotiations

shall be conducted without the approval of the Lead Counsel.

      9.       Service upon any plaintiff of all pleadings in the Consolidated Action,

except those specifically addressed to a plaintiff other than Lead Plaintiff, shall be

completed upon service of Lead Counsel.

      10.      Lead Counsel shall be the contact between plaintiffs' counsel and

defendants' counsel, as well as the spokespersons for all plaintiffs' counsel, and shall

direct and coordinate the activities of plaintiffs' counsel. Lead Counsel shall be the

contact between the Court and plaintiffs and their counsel.

   III.     NEWLY FILED OR TRANSFERRED ACTIONS

      11.      When a case that arises out of the subject matter of this action is

hereinafter filed in this Court or transferred from another Court, the Clerk of this

Court shall:

               a.    file a copy of this Order in the separate file for such action;

               b.    mail a copy of this Order to the attorneys for the plaintiff(s) in

the newly filed or transferred case and to any new defendant(s) in the newly filed or

transferred case; and

               c.    make the appropriate entry on the docket for this action.


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         12.     Each new case that arises out of the subject matter of the action that is

filed in this Court or transferred to this Court shall be consolidated with the

Consolidate Action and this Order shall apply thereto, unless a party objecting to

this Order or any provision of this Order shall, within ten (10) days after the date

upon which a copy of this Order is served on counsel for such party, file an

application for relief from this Order or any provision herein and this Court deems

it appropriate to grant such application.

         13.     During the pendency of this litigation, or until further order of this

Court, the parties shall take reasonable steps to preserve all documents within their

possession, custody or control, including computer-generated and stored

information and materials such as computerized data and electronic mail, containing

information that is relevant to or which may lead to the discovery of information

relevant to the subject matter of the pending litigation.

   IV.         SCHEDULE FOR CONSOLIDATED COMPLAINT AND MOTION
               TO DISMISS

         14.    The parties to these actions submitted a stipulation for the Court's

consideration on April 7, 2017 requesting a schedule for filing a consolidated

complaint and briefing a motion to dismiss (Dkt. No. 12).

      15.       The parties appeared before the Court on May 11, 2017, at which time

the parties agreed to the following schedule for filing the consolidated complaint and

briefing on the motion to dismiss:

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            (a)       Plaintiff will file a consolidated complaint on June 26, 2017;

            (b)       Defendants will answer or otherwise respond to the consolidated

                      complaint on August 10, 2017;

            (c)       If Defendants move to dismiss Plaintiffs consolidated

                      complaint, Plaintiff will file his opposition to the motion to

                      dismiss on September 25, 2017 and Defendants will file a reply

                      in further support of the motion to dismiss on October 25, 2017.



 Dated:   sf 4 7  l                                 ~~~J
                                                The Honorable Anne E:rI10IIWOfi
                                                United States District Judge




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